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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

  CELESTE BORYS, MARY HALL,
  SASHLEIGHA HIGHTOWER, KRISTA
  KACEY, KIRA LYNCH, and BREE                COMPLAINT FOR ANTI-
  RIGHTER,                                   TRAFFICKING

       Plaintiffs,                           Case No.: 2:24-cv-00794-RJS

  v.                                         Judge: Robert J. Shelby

  TIMOTHY BALLARD, an individual;
  MATTHEW COOPER, an individual;
  MICHAEL PORENTA, an individual;
  OPERATION UNDERGROUND
  RAILROAD, INC., AKA OUR RESCUE,
  a Utah non-profit corporation MS
  WILLIAMS & COMPANY, LLC, a
  Wyoming Limited Liability Company and
  DOES 1 through 100,

       Defendants.
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        Plaintiffs, by and through their counsel, bring this Complaint against Defendants Timothy

 Ballard and Operation Underground Railroad, Inc. (hereinafter "OUR"), and allege as follows:

   I.        INTRODUCTION

        Defendant Ballard and Defendant Operation Underground Railroad, organizations

purportedly dedicated to fighting human trafficking, have violated Trafficking Victims

Protection Reauthorization Act (TVPRA) for exploiting and trafficking women for sex and/or

labor, through the deceptive tactic called the COUPLES RUSE. Rather than rescuing victims,

the defendants manipulated and coerced women into sexually exploitative situations under the

guise of undercover missions.

        Plaintiffs hereby provide a short and plain statement of their claims showing that they are

entitled to relief, as required by Federal Rule of Civil Procedure 8(a) and said notice is hereby

provided below:

        1.      This action is brought under the Trafficking Victims Protection Reauthorization

             Act of 2003 (TVPRA), 18 U.S.C. § 1595, which provides a civil remedy for victims

             of trafficking.

        2.       Plaintiffs were recruited by the Defendants to participate in "operations" under the

guise of combating human trafficking, during which they were subjected to manipulation,

coercion, abuse, and exploitation.

        3.       Defendants used deceptive practices, including but not limited to the so-called

"Couples Ruse," to coerce and exploit Plaintiffs for personal and financial gain, in direct

violation of federal anti-trafficking laws.

II. PARTIES

                                                  2
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       4.      Plaintiff Celeste Borys is a resident of Salt Lake County, State of Utah.

       5.      Plaintiff Mary Hall is a resident of Salt Lake County, State of Utah.

       6.      Plaintiff Sashleigha Hightower is a resident of Salt Lake County, State of Utah.

       7.      Plaintiff Krista Kacey is a resident of Utah County, State of Utah.

       8.      Plaintiff Kira Lynch is a resident of Utah County, State of Utah.

       9.      Plaintiff Bree Righter is a resident of the State of Virginia.

       10.     Defendant Timothy Ballard is a resident of Utah County, State of Utah and

founder of Operation Underground Railroad, Inc.

       11.     Defendant Matthew Cooper is Ballard’s right-hand-man. He is a resident of Utah

County, State of Utah.

       12.     Defendant Michael Porenta laundered money from the MS Williams and

Company, LLC so that Ballard would have cash to pay for his escorts 1 and pay bribes to foreign

officials. He is a resident of Utah county, State of Utah.

       13.     Defendant Operation Underground Railroad, Inc, is a Utah non-profit corporation

that claims to lead global efforts to combat human trafficking but engaged in fraudulent,

exploitative, and abusive practices.

       14.     Defendant MS Williams & Company, LLC is a Wyoming Limited Liability

Company with its sole member being Cloud Peak Law, LLC.




1
  See the video for the escort in Mexico City with whom Ballard had a sexual encounter in the
Ritz Carlton, using cash from the MS Williams fund.
https://drive.google.com/file/d/1WZRrsaXlZY3EDO5E0UN2pj8xzuwaHPAM/view?usp=drive_
link
                                                  3
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        15.    DOES I through 100 are potential beneficiaries under the Trafficking Victims

Protection Reauthorization Act (TVPRA), Title 18, U.S. Code, Section 1595, which allows

victims to bring a civil action against a "beneficiary" who profited or gained from the trafficking

activities, even if they did not directly participate in the trafficking conduct. The complaint will

be amended to include these entities as they become known in discovery.

III. JURISDICTION AND VENUE

        16. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331, as the case

arises under federal law, specifically the TVPRA, 18 U.S.C. § 1595.

        17. Venue is proper in this Court under 28 U.S.C. § 1391 because the Defendants reside

in this District and a substantial part of the events giving rise to the claims occurred within this

District.

IV. FACTUAL ALLEGATIONS

        18.    Defendant Ballard is a captivating storyteller who attracted many followers to his

nonprofit organization, Operation Underground Railroad ("OUR").

        19.    Under the guise of philanthropic missions or "operations" aimed at rescuing

women and children from human trafficking, Ballard used his position of influence and trust to

exploit vulnerable individuals. Ballard specifically targeted women for sex, labor, and other

services in violation of federal anti-trafficking laws.

        20.    Ballard used his status to recruit Plaintiffs to participate in "undercover

operations" as "operatives" in order to "save women and children."

        21.    Ballard portrayed himself as a selfless leader who was dedicated to helping

vulnerable populations.


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       22.     However, in reality, Ballard used his influence to manipulate and coerce Plaintiffs

into performing sex, labor, and services for his personal benefit and the benefit of OUR.

       23.     Once Ballard targeted and recruited a woman, he quickly engaged in grooming

and controlling her by using a coercive tactic known as the "COUPLES RUSE."

       24.     The COUPLES RUSE involves a deceptive strategy in which female operatives

were required to simulate intimate relationships with Ballard to purportedly fool traffickers.

                            MS WILLIAMS MONEY LAUNDERING

       25.     Ballard would allegedly hire prostitutes as part of his illicit activities 2, using funds

that were funneled through MS Williams & Company, LLC and involving financial

contributions or assistance from Defendant Porenta.

       26.     The use of cash from these sources allowed Ballard to obscure the transactions,

making it difficult to trace payments linked to his misconduct.

       27.     This cash flow facilitated his exploitation of women while maintaining a façade of

legitimate anti-trafficking operations under the guise of the COUPLES RUSE.

       28.     The 990 forms filed by OUR reveal significant payments made to MS Williams

for "operations support."

       29.     Specifically, in the 2023 filing, MS Williams & Company, LLC is listed as having

received $1,510,262 from OUR.


2
  See Audio of Ballard’s attorney explaining to the Court in a sexual violence protective order
hearing against Ballard, whereby he explains how Ballard would hire “high-end escorts” and
then masturbate with them.
https://drive.google.com/file/d/1codq1MOr3Fcu_xQ5B9kt-KOEo042iDFg/view?usp=drive_link
See also Ballard explaining that he can have sex with escorts in Latin America whenever he
wants. https://drive.google.com/file/d/1-
ZkmONsiYdrcAxeMo2ZpwEYOJtzgPyY/view?usp=drive_link
                                                  5
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        30.     These payments were categorized under operations-related services, but the exact

nature of these services is not detailed in the 990s.

        31.     Under the guise of the COUPLES RUSE, this method exploited the trust and

emotional needs for safety of the Plaintiffs, often leading them to believe they were entering into

a mutually supportive and safe relationship, only to be manipulated into exploitative or abusive

situations.

        32.     Ballard exploited the Plaintiffs, subjecting them to unwanted and coercive sexual

advances, physical and psychological manipulation, sexual contact, and in some cases, violent

sexual assault, all while promising it was "necessary to rescue children."

        33.     Plaintiffs have set forth in greater specificity how Ballard implemented the

COUPLES RUSE and assaulted them, in Exhibits D through I, which are incorporated herewith

as if fully set forth herewith. 3

        A.      The COUPLES RUSE 4

        34.     Appearance of Legitimacy and Trust: Due to his former work with Homeland

Security, religious and political connections, and multiple media appearances, Ballard gained

significant recognition as a prominent figure in the anti-trafficking movement, which made him

appear as trustworthy. Ballard presented the COUPLES RUSE as a necessary tactic in

undercover operations. Because of Ballard’s perceived expertise and status, the COUPLES



3
 https://www.vice.com/en/article/tim-ballard-sound-of-freedom-grooming-sexual-abuse-undercover-couples-ruse-
operation-underground-railroad/?utm_source=VICE_Twitter&utm_medium=social+
For Plaintiff Righter’s notice description of her experiences with the COUPLES RUSE and Tim Ballard.
4
  See Ballard describing the COUPLES RUSE at
https://drive.google.com/file/d/1uURxGbuaO4_EtnSGZP1ImYK4uAuh3fvf/view?usp=drive_lin
k

                                                      6
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RUSE appeared to the women as a legitimate undercover tactic. Ballard would often times

introduce these women to his famous friends such as United States Representative Burgess

Owens, Thom Harrison, Tony Robbins and Glenn Beck, to heighten their trust that Ballard was

as he claimed. He first claimed that the COUPLES RUSE would prevent the operatives from

having to touch each other.

       35.     Then, as he gained confidence, he claimed that posing as a romantic couple,

including engaging in sexual touching and sexual acts, was essential to avoid suspicion from

traffickers, whom Ballard portrayed as omnipotent. However, it became clear that the COUPLES

RUSE was simply a false pretense for Ballard to groom, manipulate, and sexually assault the

women participating in the operations.

       36.     Targeting His Victims: Ballard seeks out women he is personally attracted to

but who have no undercover training in any formal or legitimate sense and no Spanish language

fluency as Ballard does, he then grooms his victim to gain her admiration and trust by

positioning himself as a spiritual savior 5 and heroic figure in the fight against trafficking.

       37.     Tailored Praise: Ballard Tells the Victim She is Perfect for Undercover

Operations. Ballard manipulates a woman into believing that she has special skills and qualities

needed for undercover anti-trafficking operations, making her feel important and needed. He

identifies what the woman values most or what she might be insecure about, then crafts his

praise around these areas, making the praise feel deeply personal to her.



5
 See Ballard and Ken Krogue explain to Celeste Borys and Ballard’s daughter-in-law, Rachel
Ballard, that Ballard had been prophesied to become a household
name. https://drive.google.com/file/d/19l2DAQ2T9iXi4HsXuiJ-wHp7h-
QdE6IY/view?usp=drive_link
                                                   7
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          38.    Proposing an Exotic Operation in a Foreign Country: Ballard entices the

women with promises of participating in exciting, exotic operations in foreign countries, often

framed as a life-saving mission. 6

          39.    Explaining the COUPLES RUSE, Providing a False Sense of Security, and

Soliciting Participation: Ballard introduces the COUPLES RUSE and asks if the woman is

comfortable pretending to be his romantic partner, first explaining that restrictive safe

touching would be required (no touching by other traffickers), but later explaining that

participating in sexual or intimate physical contact with him could be necessary, though his

psychic Janet Russon is telling him he is a prophet and does not have to obey the rules. 7 He

represents to her that he will keep her safe and protect her throughout the process, portraying

himself as a comforting and nurturing figure. He also wants to practice with the woman well

before the OP, going to the woman’s home, hotel room or office and trying to take the woman to

a strip club or massage parlor together, to make sure they have chemistry.

          40.    Secrecy, Isolation, and Control Through Non-Disclosure Agreements: Once

trust is established, Ballard has Matthew Cooper or another associate facilitate the signing of

NDAs, framing the agreement as a professional requirement, while emphasizing that the woman

will be paid for her involvement. This leads the woman to believe that everything related to

operations is confidential, which leaves her isolated from her support systems such as friends,

family, or co-workers, making her increasingly reliant on Ballard and Cooper. Ballard uses




6
 https://drive.google.com/file/d/1bGgBanewmsiems1xNg36-
65qDgtKvUg9/view?usp=drive_link
7
    https://drive.google.com/file/d/1TM7UeSx84cdHQZENlFoJGDL6DFNFxqGN/view?usp=drive_link

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emotional, psychological, physical, and spiritual tactics to exert control over the woman’s

behavior.

       41.     Manipulation of Emotions: Ballard texts the woman, playing on the woman’s

emotional vulnerabilities and cultivating a personal relationship by convincing her that

developing physical and spiritual intimacy is essential for their performance in operations. 8 Over

time, he uses this emotional connection to groom her and make her more dependent on him. 9

       42.     Normalization of Boundary-Crossing Behaviors: Ballard shares personal,

intimate grievances, claiming his wife Katherine does not meet his sexual needs, specifically

referring to her refusal to get a Brazilian wax or to engage in sexual activities outside of her

religious commitments. Ballard normalizes these inappropriate sexual conversations, framing

them as part of fully connecting as a COUPLES RUSE partner. 10

       43.     Leveraging Jealousy or Competition and Confusion over the COUPLES

RUSE Rules: Ballard introduces elements of jealousy or competition into the dynamic, making

the woman feel like she is having to prove herself by claiming that other women have failed the

mission by falling in love with him. He speaks horribly of other members on the team, such as



8
  See Text Messages between Ballard and Ms. Lynch.
https://drive.google.com/file/d/1VsHnX2adRWo3z1Y0fSXCQrveJpiHq1sH/view?usp=drive_lin
k
9
  See Text Messages between Ballard and JJ, attached hereto as Exhibit B.
10
   See Audio of Ballard explaining to Celeste Borys how he wants his wife to take off her LDS
garments https://drive.google.com/file/d/1mpX7hz84oyFchqZj7R6xYMiTejcEnxj4/view?usp=d
rive_link when they have sexual relations. Likewise, Ballard came to Ms. Borys and explained
that they needed “to sit down and talk about how to balance ops/HP relationship vs. CEO/EA
relationship. We need to be very careful! We need to compartmentalize. So much hangs in the
balance! At least I knew this – I have an almost impossible – to- understand faith and trust in
you that usually takes almost a lifetime for me to get with someone.” See Text Messages,
attached hereto as Exhibit C.
                                                  9
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Matt Cooper, Michael Porenta, Matt Osborn and others, as well as other female operators, so that

the women would feel competitive and afraid that he would deem them a traitor or get sued by

Ballard if they do not perform adequately. He emphasizes that there are rules that must be

followed 11, but then asks, "How far are you willing to go to save a child?" This leads to the

woman being confused when he begins to manipulate emotions and push boundaries farther.

         44.   Practicing Physical Chemistry: Once the woman has been groomed into a

position of trust or emotional dependence, Ballard escalates attempts to sexually manipulate the

woman into coercive sexual situations, such as "practicing" physical intimacy, claiming it is

essential to maintain the illusion of being a couple during operations. The woman often feels

pressured to comply because it’s Tim Ballard, the anti-trafficking expert.

         45.   Creating Mutual Blackmail: Ballard tells the woman that they both have

compromising information on each other, ensuring they won’t reveal his sexual misconduct by

framing their relationship as one of mutual trust and secrecy.

         46.   Sharing Legal Communications to Enhance His Alpha Male Image: Ballard

would often share confidential legal communications to impress the women and reinforce his

image as a powerful and influential figure. 12

         47.   Isolating the Woman from Other OUR Team Members: Ballard would

intentionally isolate the women from other members of the team, making it easier to manipulate

and exploit them sexually.


11
   See Ballard explain how the COUPLES RUSE has rules
https://drive.google.com/file/d/1WQOsm--801kOiqQ29iP6N7YrirRiskRy/view?usp=drive_link
12
   See Text Message between Ballard and Ms. Kacey, whereby he is bragging about bashing
General Counsel for OUR for having the audacity to call out Ballard for entrapment techniques,
attached hereto as Exhibit A.
                                                 10
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         48.     Sexual Assaults with Matthew Cooper as a Witness: In many cases, Ballard

would sexually assault the women in private settings where Matthew Cooper would be present or

nearby, ready to provide false testimony if necessary.

         49.     Ghosting and Gaslighting the Women After Resistance: If a woman resisted

his advances or became suspicious, Ballard would claim he could no longer participate in

operations due to his fame. He would then "ghost" the woman and shift responsibility for future

operations to other members of the team, making it appear as though the sexual assault was part

of the program. He would claim, such as with Plaintiff Hightower and others, to be a traitor

when they exposed his criminal fraud.

         B.      OUR’S KNOWLEDGE AND BENEFIT

         50.     Defendant OUR, despite awareness and knowledge of Ballard's labor and sex

trafficking, facilitated and covered up these actions, failing to protect Plaintiffs. OUR actively

participated in the solicitation, recruitment, and exploitation of Plaintiffs and profited by these

illegal activities.

         51.     In fact, OUR upper management facilitated Ballard’s abuse of these women by

given OUR employees time off by cooking the books so that non-COUPLES RUSE employees

would not know what the COUPLES RUSE partner was doing. 13

         52.     The actions of Defendants were designed to exploit the Plaintiffs for Ballard’s

sexual gratification, by having Plaintiffs perform sex, labor, and services under the guise of

noble humanitarian missions, which is prohibited under the TVPRA.


13
  See Voicemail of Brad Damon, explaining to Ms. Borys how to manipulate her work records
so that no one would know she was with Ballard and she would not have to take time off.
https://drive.google.com/file/d/1B3lbOaBm843n0ygvJJeJtH3HxrEzyMSH/view?usp=drive_link
                                                 11
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         53.   Ballard and OUR have used many of the Plaintiff’s communications against them,

despite the communications being made at the behest of Ballard and/or OUR when the Plaintiffs

still believed the COUPLES RUSE was legitimate.

         54.   For example, Ballard has sued the Plaintiffs for defamation.

         55.   OUR has sued Plaintiff Celeste Borys for defamation and violating the NDAs.

         56.   However, Ballard recently revealed while in an impaired state on a podcast that

his wife Katherine Ballard instructed to be immediately taken down, that the COUPLES RUSE

was developed by him through prayer and study. 14

         57.   OUR has acknowledged that the COUPLES RUSE was a “past sin” of OUR. 15




14
   See Video of an apparently impaired Ballard explaining how he invented the COUPLES
RUSE and that it is weird
https://drive.google.com/file/d/1c6XBV3JJJpRM8v1czqGxMpBaWOQ_nFpK/view?usp=drive_l
ink
Ballard’s wife Katherine Ballard had the podcast immediately taken down because of the things
Ballard said on the podcast. https://drive.google.com/file/d/1h3KU-f8OUC5q3_raPQu-
E5sqJuzz3PaO/view?usp=drive_link
15
    See Video of Ballard’s replacement at OUR, Tammy Lee, declaring that the COUPLES
RUSE was a past sin of OUR.
https://drive.google.com/file/d/1z9WbHwcXeqOcGcy9Ltivs3nHuRorjtFw/view?usp=drive_link


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                                       CAUSE OF ACTION

          VIOLATIONS OF THE TRAFFICKING VICTIMS PROTECTION
       REAUTHORIZATION ACT OF 2003 (TVPRA) FOR SEXUAL AND LABOR
                             TRAFFICKING
                            (18 U.S.C. § 1595)

                  “THE ANTI-TRAFFICKERS ARE THE TRAFFICKERS”

        58.      Plaintiffs re-allege and incorporate by reference all preceding paragraphs as if

fully set forth herein.

        59.      Defendants knowingly recruited, transported, harbored, and engaged Plaintiffs for

labor and services through means of fraud, coercion, and deception, in violation of 18 U.S.C. §§

1589 and 1590, or are beneficiaries of such.

        60.      Plaintiffs were coerced into participating in operations that subjected them to

sexual exploitation and forced labor under false pretenses.

        61.      Defendants' conduct caused Plaintiffs severe emotional and physical harm.

        62.      As a result of Defendants’ violations of the TVPRA, Plaintiffs are entitled to

compensatory and punitive damages as well as attorneys’ fees and costs.

VII. PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully request that this Court enter judgment against

Defendants and award Plaintiffs the following relief:

        1. Compensatory damages for physical, emotional, and psychological injuries sustained

by Plaintiffs;

        2. Punitive damages to punish and deter future unlawful conduct;


                                                  13
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    3. Reasonable attorneys’ fees and costs as provided by law;

    4. Any such further relief as this Court deems just and proper;

    5. Any other relief the Court deems just and proper.

                                DEMAND FOR JURY TRIAL

    Plaintiffs demand a trial by jury on all issues so triable.

    DATED this 22nd day of October, 2024.

                                                    ALL UTAH LAW PLLC

                                                    _/s/ Suzette Rasmussen
                                                    Suzette Rasmussen


                                                    MORTENSEN MILNE

                                                    _/s/ Alan W. Mortensen
                                                    Alan W. Mortensen
                                                    Christopher J. Cheney



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